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UNITED STATES DISTRICT COURT ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC #:
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UNITED STATES OF AMERICA, DATE FILED: 7 -2/-2023

-against- 85 22-cr-0673 (LAK)
SAMUEL BANKMAN-FRIED,
Defendant.
RN x
ORDER

LEWIS A. KAPLAN, District Judge.

The Court will hear argument on the government’s letter application, dated July 20,
2023, on July 26, 2023 at 2 p.m. The defendant shall be present.

At or before | 1 a.m. on July 24, 2023, the government shall file the proposed order that
it asks the Court to enter. The parties shall be prepared on July 26 to address, among other things, the
adequacy and continuation of the current bail conditions.

SO ORDERED.

Dated: July 21, 2023

/sf Lewis A. Kaplan

 

Lewis A. Kaplan
United States District Judge
